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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                    MDL No. 2924
    PRODUCTS LIABILITY                                             20-MD-2924
    LITIGATION
                                                 JUDGE ROBIN L. ROSENBERG
                                        MAGISTRATE JUDGE BRUCE E. REINHART

    ________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES




      DEFENDANTS’ MOTION TO DISMISS AMENDED CONSOLIDATED MEDICAL
         MONITORING CLASS ACTION COMPLAINT, AND INCORPORATED
                         MEMORANDUM OF LAW
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                                            INTRODUCTION

           As the Court held when dismissing the Consolidated Medical Monitoring Class Action

    Complaint (“MMC”)—and as Plaintiffs concede—Plaintiffs “are not entitled to medical

    monitoring for just any exposure.” Dkt. 3720 (“Order”) at 21. Instead, Plaintiffs must plead

    plausible allegations that their “exposure to NDMA [was] significant,” and that they are at a

    “significant increase in their risk of cancer” as a result. Id. at 21–22 (emphasis added).

           In the MMC, Plaintiffs failed to plead adequate facts alleging either the level of NDMA

    that places them at a significantly increased risk of cancer or the level of NDMA to which they

    were exposed. Addressing this failure head-on in dismissing the MMC, the Court identified three

    allegations that if “clearly” pleaded would satisfy Plaintiffs’ pleading burden: (1) “how much

    NDMA is necessary to cause a significantly increased risk of cancer,” (2) “the amount of NDMA

    each Plaintiff received per dose,” and (3) “the number of doses of ranitidine the Plaintiffs

    consumed.” Id. at 32–33. The Court was clear that Plaintiffs were required to rectify these failures

    through re-pleading. Id. at 22. But despite this Court’s detailed instruction, Plaintiffs again failed

    to plead facts in the Amended Medical Monitoring Complaint (“AMMC”): nowhere in the

    AMMC do Plaintiffs allege the amount of NDMA necessary to cause, in their view, a significantly

    increased risk of cancer, the amount of NDMA that each Plaintiff received per dose of ranitidine,

    or even the number of doses consumed by Plaintiffs. Instead, Plaintiffs attempt to string together

    a series of vague allegations, which do not plead a significant increased cancer risk even when

    accepted as true. Indeed, this Court already has rejected or questioned the adequacy of the

    allegations on which Plaintiffs’ claims rely. Yet the AMMC does not address the Court’s

    numerous concerns.

           Plaintiffs have not pleaded, and cannot plead, exposure to a level of NDMA that placed

    them at a significantly increased risk of cancer. The AMMC should be dismissed with prejudice.
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                                            BACKGROUND

           A.      The MMC

           On February 22, 2021, fifty-two Plaintiffs filed the MMC. See Dkt. 2832 (“MMC”).

    Plaintiffs alleged that, though they had no present physical injuries, their ingestion of Defendants’

    ranitidine products increased their risk of injury and sought relief in the form of unspecified,

    ongoing medical monitoring. Id. at 3–4. Plaintiffs sought medical monitoring under the laws of

    14 states based on their alleged increased risk of developing certain “Subject Cancers.”1 Id. at 4–

    5.

           B.      The Court’s Order Dismissing the MMC

           Defendants moved to dismiss the MMC. Dkt. 3116. On June 30, 2021, this Court

    dismissed with prejudice the medical monitoring claims asserted under Montana law, and

    dismissed the claims without prejudice as to the remaining 13 states. Order at 58. The Court found

    Plaintiffs’ allegations insufficient to support several elements of their medical monitoring claims,

    and the Court was explicit about what was needed to properly replead them. Id. at 21–36.

           First, Plaintiffs failed to plead (1) individual levels of exposure to NDMA and (2) the

    threshold amount of exposure needed to significantly increase the risk of cancer. Id. at 22–23.

    More specifically, the Court concluded that Plaintiffs failed to allege “(i) the number of doses of

    ranitidine the Plaintiff consumed, (ii) the amount of NDMA each Plaintiff received per dose, and

    (iii) how much NDMA is necessary to cause a significantly increased risk of cancer for each of

    the Subject Cancers alleged.” Id. at 32–33. Due to these deficiencies, the Court concluded that




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      The “Subject Cancers” included “bladder, breast, colorectal/intestinal, esophageal, gastric,
    kidney, liver, lung, pancreatic, and prostate cancers.” MMC at 3.



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    Plaintiffs did not plausibly allege a substantial increase in the risk of cancer from ingestion of

    Defendants’ ranitidine products. Id. at 33.

            Second, the Court held that Plaintiffs “failed to plausibly allege that diagnostic tests exist

    for early detection of the Subject Cancers” or that their proposed monitoring regime differed “from

    what is recommended to the public at large.” Id. at 33, 36. Plaintiffs did not allege “that any tests

    and exams exist, much less specify what they are.” Id. at 33. Further, as an element of medical

    monitoring, Plaintiffs were required to allege that their monitoring regime is “different from that

    normally recommended in the absence of exposure.” Id. at 35. Instead, Plaintiffs’ allegations

    merely recited this required element and provided no factual support. Id.

            C.     The AMMC

            Twenty-seven Plaintiffs filed the AMMC on August 2, 2021. See Dkt. 3884 (“AMMC”).

    Again, Plaintiffs alleged that “as a direct and proximate result of consuming Defendants’

    Ranitidine-Containing Products for years, Plaintiffs are at a significantly increased risk of

    contracting a Subject Cancer” and that “Plaintiffs’ lengthy duration of exposure to NDMA from

    Defendants’ products warrants additional medical testing not routinely provided to the public at

    large.” Id. ¶ 386. Plaintiffs included a handful of new allegations in response to this Court’s Order

    but as explained below, Plaintiffs’ new pleading failed to cure the deficiencies that this Court

    identified.

                                          LEGAL STANDARD

            “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

    accepted as true, ‘to state a claim to relief that is plausible on its face.”’ Ashcroft v. Iqbal, 556

    U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To

    determine “facial plausibility,” bare legal conclusions unsupported by factual allegations must be

    disregarded because they are “not entitled to the assumption of truth.” Id. at 678–79. “Threadbare


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    recitals of the elements of a cause of action, supported by mere conclusory statements, do not

    suffice.” Id. at 678. As to any remaining “factual content,” it must be sufficient to “allow[] the

    court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

           Moreover, while the Court “must assume that [the plaintiffs] can prove the facts alleged,”

    it is “not . . . proper [for the Court] to assume that [the plaintiffs] can prove facts that [they have]

    not alleged.” Associated Gen. Contractors of Cal. Inc. v. Cal. State Council of Carpenters, 459

    U.S. 519, 526 (1983).

                                                ARGUMENT

           Plaintiffs still do not make any attempt to allege—with anything approaching the factual

    specificity that this Court’s Order demanded—the amount of NDMA that substantially increases

    the risk of cancer or the amount of NDMA to which Plaintiffs were exposed in each dose. The

    vague allegations that Plaintiffs do plead either were already rejected by the Court as insufficient

    to support their medical monitoring claims or they suffer from the same or similar defects. Finally,

    Plaintiffs’ amended dosage allegations remain inadequate and confirm that Plaintiffs have not

    alleged and cannot plausibly allege a substantially increased risk of cancer.

    I.     The AMMC Does Not Allege the Amount of NDMA Needed to Significantly Increase
           the Risk of Each of the Subject Cancers.

           To adequately plead medical monitoring, Plaintiffs must plead, among other things, that

    their “exposure to NDMA [was] significant.” Order at 21; see also Riva v. Pepsico, Inc., 82 F.

    Supp. 3d 1045, 1057 (N.D. Cal. 2015) (holding that plaintiff must “demonstrate sufficient severity

    of exposure” that requires “future monitoring” (quotation marks and citations omitted)). The

    significance of Plaintiffs’ exposure, however, cannot be analyzed without “context” as to what

    “level of exposure creates [an] increased risk.” Riva v, 82 F. Supp. 3d at 1057. As the Court

    observed, it is not enough for Plaintiffs to allege that NDMA is a carcinogen; they must also allege



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    “the amount of NDMA the Plaintiffs contend would equate to a significant increase in the risk of

    cancer.” Order at 25.

             Despite this clear direction from the Court, the AMMC fails to affirmatively and

    unequivocally allege the amount of NDMA exposure needed to significantly increase the risk of

    developing the Subject Cancers.

             A.      The FDA’s Acceptable Daily Intake for NDMA Is Not the Amount of NDMA
                     That Significantly Increases the Risk of Cancer.

             Plaintiffs appear to suggest—but never clearly allege—that the FDA’s acceptable daily

    intake (“ADI”) for NDMA of 96 ng per day is an amount of NDMA that significantly increases

    the risk of cancer. See AMMC ¶¶ 390–92. As Plaintiffs acknowledge, FDA’s ADI means that,

    from the FDA’s perspective, consumption of 96 ng of NDMA every day for 70 years results in

    only a .001% increase in the risk of cancer. Id. ¶ 390; Order at 23.

             In its prior order, the Court instructed Plaintiffs that if they decided to replead, they should

    “clearly” state whether they “equate a .001% increased risk with a significantly increased risk” of

    cancer. Order at 24. Plaintiffs did not comply with that directive. Instead, Plaintiffs simply allege

    that exposure to more than 96 ng per day “is unacceptable and harmful by definition.” AMMC

    ¶ 392. Plaintiffs then claim—in a footnote—that “[e]xpert testimony will explain the significance

    of this exposure [to NDMA in excess of the ADI] and the concomitant risk of cancer.” Id. ¶ 400

    n.172.

             That is not a “clear” allegation of anything. Plaintiffs’ reliance on the FDA’s ADI as

    “unacceptable and harmful” is insufficient to plead a factual basis for medical monitoring claims.

    Rather, at “the pleadings stage,” a plaintiff must “allege that she was exposed to a quantifiable

    ‘harmful’ level” of exposure”; it is insufficient to rely on a regulatory “threshold” baldly alleged

    to be “unsafe” because the “Court cannot apply [that] as a legal standard.” Butler v. Denka



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    Performance Elastomer, LLC, 2020 WL 2747276, at *14 n.21 (E.D. La. May 27, 2020); see also

    Riva, 82 F. Supp. 3d at 1057 (granting Rule 12 motion where plaintiffs alleged “that increased risk

    occurs ‘at or above threshold levels’ of exposure, but [did] not allege what threshold level of

    exposure creates the increased risk” (citations omitted)).

           It is no surprise that Plaintiffs avoid clearly pleading that a .001% increase constitutes a

    significantly increased risk of cancer. Courts have concluded such an incremental increased risk

    is insufficient to support a medical monitoring claim. In Riva, the plaintiffs alleged the same

    threshold exposure level: “one excess case of cancer in an exposed population of 100,000,

    assuming lifetime exposure at the level in question”—or a .001% increased risk of cancer. 82 F.

    Supp. 3d at 1061 (quotation marks and citation omitted). The Riva court concluded that plaintiffs

    seeking medical monitoring must demonstrate “a higher level of proof of health risk” than a .001%

    increase in cancer “[b]ecause the burden on a defendant to fund medical screening for thousands,

    potentially millions, of people is so substantial.” Id.

           The holding in Riva is consistent with the Eleventh Circuit’s recognition that “regulatory

    levels generally overestimate potential toxicity levels for nearly all individuals,” and therefore “the

    theoretical risks from exposure at the guideline range level is likely to be substantially over-

    estimated for the large majority of individuals in the population.” McClain v. Metabolife Int’l,

    Inc., 401 F.3d 1233, 1249 (11th Cir. 2005) (citation omitted). As the Court in Williams v. Mosaic

    Fertilizer, LLC, 889 F.3d 1239 (11th Cir. 2018) carefully explained, regulatory standards do not

    “establish the dose threshold above which [a plaintiff’s] condition [is] likely [to] result from her

    exposure.” Id. at 1246. That is because “regulatory standards often build in considerable cushion

    in order to account for the most sensitive members of the population and prophylactically protect

    the public) (in other words, they are protective), while dose-response calculations aim to identify




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    the exposure levels that actually cause harm (in other words, they are predictive).” Id. at 1247.

    Indeed, courts have rejected that a regulatory threshold establishes a “danger point” and that “extra

    levels above [the threshold] are significantly harmful.” Gates v. Rohm & Haas Co., 265 F.R.D.

    208, 226 (E.D. Pa. 2010), aff’d, 655 F.3d 255 (3d Cir. 2011). More specifically, courts have held

    that regulatory “thresholds of proof” are “reasonably lower than that appropriate in tort law,” and

    therefore insufficient to establish the required causal “link” between “exposure” and “cancer.”

    Allen v. Pa. Eng’g Corp., 102 F.3d 194, 198 (5th Cir. 1996); see also Rhodes v. E.I. du Pont de

    Nemours & Co., 253 F.R.D. 365, 377 (S.D.W. Va. 2008) (“Medical monitoring, as a common law

    tort, requires more certainty than that provided by [regulatory thresholds].”)2

           Plaintiffs’ bare assertion that “[e]xpert testimony will explain the significance of this

    exposure [to NDMA above the ADI] and the concomitant risk of cancer,” AMMC ¶ 400 n.172,

    cannot save their improperly pleaded claims, and is precisely the type of “speculative” allegation

    that Twombly and Iqbal reject. Twombly, 550 U.S. at 555; accord Iqbal, 556 U.S. at 680–81.

    Courts have expressly recognized that under federal pleading standards, “[i]t is insufficient to

    allege . . . that expert testimony will substantiate . . . claims at trial.” Rodriguez v. Sec’y of Pa.

    Dep’t of Env’t Prot. of Pa., 604 F. App’x 113, 115 (3d Cir. 2015).

           Plaintiffs “must allege a significant increase in their risk of cancer” caused by their Zantac

    ingestion, by reference to an amount of exposure that leads to such a significant increase in risk.

    Order at 22. Their mention in the AMMC of the FDA’s ADI does not do so.



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      Similarly, it is baseless for Plaintiffs to suggest that the FDA’s request to voluntarily withdraw
    ranitidine from the market is sufficient to plausibly allege an increased risk of cancer. See AMMC
    ¶ 400–01. As courts have recognized, FDA’s decision to recall a medication “is unreliable proof
    of medical causation . . . because the FDA employs a reduced standard (vis-a-vis tort liability) for
    gauging causation when it decides to rescind drug approval.” Glastetter v. Novartis Pharms.
    Corp., 252 F.3d 986, 991 (8th Cir. 2001).



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           B.      The Studies Cited by Plaintiffs Do Not Identify the Amount of NDMA that
                   Significantly Increases the Risk of Each of the Subject Cancers.

           Plaintiffs cite to “numerous studies” that they claim “support the conclusion that NDMA

    and, specifically, NDMA in ranitidine, causes cancer in humans, including the Subject Cancers.”

    AMMC ¶¶ 402. Even accepting Plaintiffs’ characterizations of their selected studies, the studies

    do not plausibly establish any specific amount of NDMA in ranitidine that significantly increases

    the risk of each Subject Cancer.

           As an initial matter, most of the studies Plaintiffs cite that report an increased risk of cancer

    associated with ranitidine or other H2RA blockers do not even mention NDMA, and in none of

    those studies was there an effort to quantify any level of NDMA in ranitidine that resulted in the

    increased risk of cancer reported. See id. ¶¶ 403–08. Thus, the studies provide no basis to plausibly

    identify the level of NDMA exposure that creates a significant increase in the risk of cancer.3

           Even as to the handful of cited NDMA studies that reported an increased risk of cancer

    associated with certain levels of NDMA, Plaintiffs fail to allege whether those amounts—ranging

    from 130 ng/day to 270 ng/day—create a significantly increased risk of each of the Subject

    Cancers, as required to satisfy the Court’s Order. Nor could Plaintiffs. First, those studies relate

    to only three of the Subject Cancers (gastric, lung, and rectal), see AMMC ¶ 409, and consequently

    are insufficient to plead an amount of NDMA that significantly increases the risk of the other

    Subject Cancers (bladder, breast, esophageal, kidney, liver, pancreatic, colon/intestinal, and

    prostate). See AMMC at 26 n.13. Indeed, one of Plaintiffs’ cited studies found “no significant

    associations” between NDMA exposure and colon, breast, prostate, and lung cancers. Yet Hua


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      Moreover, the FDA’s own study recently concluded that “studies with comparison to active
    controls found no association between ranitidine and overall or specific cancer risk.” Jeffrey
    Florian et al., Effect of Oral Ranitidine on Urinary Excretion of N-Nitrosodimethylamine (NDMA),
    JAMA at 8 (June 28, 2021) (emphasis added).



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    Loh et al., N-nitroso Compounds and Cancer Incidence: The European Prospective Investigation

    into Cancer and Nutrition (EPIC)–Norfolk Study, 93 AM. J. CLINICAL NUTRITION 1053, 1057

    (2011).4

           Second, in each of those studies, there was no ranitidine use at issue; rather, the NDMA

    was present because of diet. See AMMC ¶ 409. As the Court previously noted, these studies

    assess “lifetime diet habits and then conclude, based upon a lifetime of eating or not eating NDMA-

    rich foods, the relative risk of a consumer’s cancer.” Order at 24. These studies do not and cannot

    support any conclusion about the amount of NDMA needed to create a significantly increased

    cancer risk.

           Third, these studies based on dietary habits highlight yet another glaring omission

    previously identified by the Court, which Plaintiffs failed to address as directed: the AMMC does

    not allege “how much NDMA a typical Plaintiff consumes (outside of ranitidine consumption).”

    Id. at 25. As the Court unambiguously stated, “this is a number that matters.” Id. Without that

    number, it is “implausible to conclude that any alleged increased risk of cancer is ‘more likely than

    not’ caused by” ingesting ranitidine given the “many alternative sources” of NDMA. Riva, 82 F.

    Supp. 3d at 1062.

           In sum, because Plaintiffs fail to plead “the amount of NDMA the Plaintiffs contend would

    equate to a significant increase in the risk of cancer,” the AMMC should be dismissed. Order at

    25.


    4
      In addition to the Loh study, Plaintiffs cite the Song and De Stefani studies in support of their
    allegation of a significantly increased risk of cancer associated with NDMA. See AMMC ¶ 210
    & nn. 138–40). Notably, the Song study was a meta-analysis that included the results of De
    Stefani. Peng Song et al., Dietary Nitrates, Nitrites, and Nitrosamines Intake and the Risk of
    Gastric Cancer: A Meta-Analysis, 7 NUTRIENTS 9872–95 (2015). The Song study authors
    determined that the De Stefani study skewed the meta-analysis, and when De Stefani was removed,
    the overall results were no longer statistically significant. See id. at 9890.



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    II.    The AMMC Does Not Plead the Amount of NDMA in Each Zantac Dose.

           Even if Plaintiffs had pleaded the amount of NDMA that causes an increased risk of cancer

    (they do not), the AMMC would still fail to plead a significantly increased risk of cancer as to

    Plaintiffs because it says nothing about the “levels [to which] Plaintiffs were actually exposed.”

    Lafferty v. Sherwin-Williams Co., 2018 WL 3993448, at *5 (D.N.J. Aug. 21, 2018). In its Order,

    the Court found that Plaintiffs had not plausibly pleaded a significant increase in cancer risk

    because it was “unclear . . . how much NDMA exposure the Plaintiffs have alleged is caused

    through ranitidine ingestion.” Order at 30. The Court could not “clearly ascertain from the MMC

    . . . the amount of NDMA each Plaintiff received per dose.” Id. at 32. Again, despite the Court’s

    direction to Plaintiffs that they should explicitly plead the amount of NDMA in each dose of

    Zantac, that allegation appears nowhere in the AMMC.

           A.      The FDA’s Testing of Zantac Does Not Give Plaintiffs a Basis to Plausibly
                   Plead the Amount of NDMA in Each Dose.

           In the AMMC, Plaintiffs have abandoned many of the theories and allegations that the

    Court previously held were insufficient to plead the amount of NDMA in each Zantac dose. They

    no longer claim that each dose contains over 3000 ng of NDMA, which, as the Court found, was

    a number unsupported by any plausible factual allegation in the MMC. Order at 26. They do not

    rely on testing results from a study that the Court noted was retracted due to “flawed” and

    “unreliable” NDMA measurements. Id. at 26 & n.13.5 And they likewise do not rely on the

    Valisure testing after the Court appropriately questioned the relevance of the results of a study

    conducted under conditions simply not present in the human body. Id. at 27–29.


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      Plaintiffs cannot object to the Court’s consideration of the underlying documents cited in the
    AMMC. As the Court noted in its prior Order, “Plaintiffs should omit [such] citations in any future
    pleading” if they “believe that the cited documents and studies should not be considered by the
    Court.” Order at 24 n.10.



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           Plaintiffs do, however, continue to allege that “[t]he FDA’s own testing found that the

    ranitidine sold by Defendant Sanofi contained up to 360 ng per 150 mg tablet—3 times the ADI

    in just one dose.” AMMC ¶ 397 (emphasis added). But these allegations are not sufficient to

    plead the amount of NDMA in each dose of ranitidine that Plaintiffs consumed, for all the same

    reasons the Court previously cited in rejecting and dismissing the MMC.

           First, the FDA did not test products manufactured by each Defendant. Sanofi is the only

    Defendant whose product FDA tested, and even as to Sanofi, the results range from 10 ng/dose—

    well below the ADI level of 96 ng/day—to 360 ng/dose. These results therefore do not plausibly

    support that every dose—or even any significant percentage of doses—of Zantac manufactured by

    Sanofi contained an amount of NDMA above the ADI.6

           Second, as the Court previously noted, other manufacturers’ ranitidine samples tested by

    the FDA were below the ADI for NDMA or contained no NDMA at all. Order at 29. Thus, based

    on the FDA’s findings, it is not plausible to conclude that any other Defendant’s Zantac contained

    NDMA or amounts of NDMA above the ADI.

           Third, the AMMC is silent as to the Court’s critical question of “why the statements of the

    FDA about the low levels of danger of ranitidine . . . should be disregarded or otherwise not impact

    the Court’s decision on plausibility.” Id. at 30. As the Court noted, the FDA specifically stated

    that the NDMA levels detected in its testing of Zantac “are similar to the levels a consumer would

    expect to be exposed when eating common foods like grilled and smoked meats.” Id. at 29. The

    AMMC cites the FDA’s testing, yet fails to address—as the Court directed—how these findings

    support the “plausibility” of Plaintiffs’ allegations.



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      FDA, Laboratory analysis of ranitidine and nizatidine products (Nov. 1, 2019), available at
    https://www.fda.gov/drugs/drug-safety-and-availability/laboratory-tests-ranitidine.



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           B.      Plaintiffs Cannot Plausibly Plead the Amount of NDMA in Zantac Based on
                   Defendants’ Testing.

            Plaintiffs’ allegations about certain Defendants’ own testing of their Zantac products do

    not sufficiently allege any amount of NDMA that can be found in each dose. Similar to the FDA’s

    testing, both GSK’s and Sanofi’s testing show significant variation across the products, and in

    many instances, showed that NDMA in the tested Zantac products was below the ADI. See

    GSKZAN0000883508; SANOFI_ZAN_MDL_0000038689. Based on these results, no specific

    or even estimated amount of NDMA can be said to exist in each dose of Zantac manufactured by

    GSK or Sanofi. And these results say nothing about Zantac that was manufactured or sold by

    Pfizer, BI, or Patheon.

    III.   Plaintiffs Fail to Plead Significant Exposure to NDMA as a Result of Zantac Ingestion.

           Even if every dose of Zantac contained the highest amounts of NDMA detected for that

    Defendant’s product as alleged by Plaintiffs in the AMMC, Plaintiffs still have not plausibly

    pleaded a significant increased risk of cancer. This is because without knowing “the frequency”

    with “which the Plaintiffs . . . allege[] they consumed ranitidine,” it is impossible to tell from the

    face of the pleading “the amount of NDMA to which the Plaintiffs have alleged they were

    exposed.” Order at 31. “Without that information, the Court cannot ascertain whether the

    Plaintiffs have alleged they have a significantly increased risk of cancer.” Id. Plaintiffs attempt

    to address their pleading deficiency in the AMMC by adding allegations concerning the dosage

    and duration of use for each putative class representative. But Plaintiffs still have not pleaded how

    much NDMA any Plaintiff allegedly received, either per dose of ranitidine or over the entire

    course of her or his usage history. See AMMC ¶¶ 26–52. This failure, alone, dooms the AMMC.




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              Plaintiffs’ new individual treatment allegations fall far short of demonstrating even how

    much of Defendants’ brand-name Zantac a particular Plaintiff consumed.7 As a result of these

    pleading failures, Plaintiffs cannot plausibly allege a claim against Defendants for medical

    monitoring. Defendants attach a chart at Exhibit A summarizing the usage allegations of each

    named Plaintiff. A review of this chart confirms that Plaintiffs have failed to plead the amount of

    Zantac consumed by each Plaintiff, let alone the amount of NDMA allegedly consumed.

              For example, Plaintiff Golbenaz Bakhtiar alleges she used generic ranitidine from 2000 to

    2019, but alleges she used prescription Zantac for only one year in 2000 and OTC Zantac “when

    she needed an extra dose or ran out of her prescription.” AMMC ¶ 28. Plaintiff Michael

    Tomlinson alleges only that he used prescription Zantac for two years—more than 18 years ago—

    and only ever used OTC Zantac “when he ran out of or did not have access to his prescription.”

    Id. ¶ 48. Plaintiff Felicia Ball alleges she took prescription Zantac in 2000, but then alleges that

    as to years 2000 through 2020, she ingested generic prescription ranitidine “when her insurance

    would not pay for brand Zantac.” Id. ¶ 29. Plaintiff Alberta Griffin alleges she used prescription

    Zantac in 2000, but then alleges that as to years 2013 through 2020, she ingested generic

    prescription ranitidine “when her insurance would not pay for brand.” Id. ¶ 35. She further alleges

    she used OTC Zantac “when she ran out of her prescription.” Id. Plaintiff Marva McCall alleges

    she only took OTC Zantac from 2007 to 2015 “when her [generic] prescription ran out.” AMMC

    ¶ 38. And Plaintiff Gustavo Velasquez alleges he took Zantac “two to six times per week from

    approximately 2000 to 2016, and thereafter until 2020 on an as-needed basis, approximately once

    a month.” Id. ¶ 50. Based on these allegations, it is impossible to determine how often these

    Plaintiffs ingested Zantac in the last two decades.


    7
        “Zantac” as used in this section refers to brand-name Zantac products.



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            Moreover, many Plaintiffs allege only limited or long-ago use of the Brand Defendants’

    products and have not plausibly alleged that their consumption of Brand Defendants’ Zantac

    caused a significant increased risk of cancer. Plaintiff Ronda Lockett alleges she has not ingested

    prescription Zantac since 1995, and has not ingested OTC Zantac since 2000, and thereafter

    ingested generic ranitidine for the next twenty years until 2020. Id. ¶ 37. Plaintiff Clifton

    McKinnon alleges he ingested ranitidine from 2008 to 2020 but took OTC Zantac for only two

    years—from 2008 to 2010—before switching to generic prescription ranitidine, which he took for

    the next decade. Id. ¶ 39. Laura Monger and Alexander Monger—represented by Plaintiff Kristen

    Monger—have not ingested prescription Zantac since 1998 and 1999, respectively, and thereafter

    ingested generic ranitidine for more than ten years until 2020. Id. ¶¶ 40–41. And Plaintiff Karen

    Foster alleges only that she used OTC Zantac “a dozen times over the years from 2013 to 2017,”

    but took generic prescription ranitidine at unknown frequencies during this same time period. Id.

    ¶ 33.

            In sum, it is impossible for the Court to conclude that any of these Plaintiffs ingested Zantac

    with sufficient frequency, at sufficient dosage, to significantly increase their risk of cancer.




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                                         CONCLUSION
          For the foregoing reasons, the AMMC should be dismissed with prejudice.



    Dated: August 23, 2021                          Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing was filed on August 23, 2021 using the

    Court’s CM/ECF system, which will provide automatic notification to all counsel of record.


                                                        /s/ Mark Cheffo
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